Case 5:11-cr-04064-LTS-KEM   Document 100   Filed 05/01/12   Page 1 of 6
Case 5:11-cr-04064-LTS-KEM   Document 100   Filed 05/01/12   Page 2 of 6
Case 5:11-cr-04064-LTS-KEM   Document 100   Filed 05/01/12   Page 3 of 6
Case 5:11-cr-04064-LTS-KEM   Document 100   Filed 05/01/12   Page 4 of 6
Case 5:11-cr-04064-LTS-KEM   Document 100   Filed 05/01/12   Page 5 of 6
Case 5:11-cr-04064-LTS-KEM   Document 100   Filed 05/01/12   Page 6 of 6
